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 9
                        UNITED STATES DISTRICT COURT
10                     CENTRAL DISTRICT OF CALIFORNIA
11
     DAN DEFOREST, individually and on )          Case No.
12
     behalf of all others similarly situated, )
13                                            )   CLASS ACTION
14   Plaintiff,                               )
                                              )   COMPLAINT FOR VIOLATIONS
15          vs.                               )   OF:
16                                            )
     SMILE BRANDS, INC.; SMILE                )      1.      NEGLIGENT VIOLATIONS
17                                                           OF THE TELEPHONE
     BRANDS FINANCE, INC. dba                 )              CONSUMER PROTECTION
18   BRIGHT NOW! DENTAL, INC.;                )              ACT [47 U.S.C. §227 ET
     DOES 1-10, AND EACH OF THEM. )                          SEQ.]
19                                                   2.      WILLFUL VIOLATIONS
                                              )              OF THE TELEPHONE
20   Defendant(s).                            )              CONSUMER PROTECTION
                                              )              ACT [47 U.S.C. §227 ET
21                                                           SEQ.]
                                              )
22                                            )
                                                  DEMAND FOR JURY TRIAL
23                                            )
24
           Plaintiff DAN DEFOREST (“Plaintiff”), individually and on behalf of all
25
     others similarly situated, alleges the following upon information and belief based
26
     upon personal knowledge:
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28



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 1                              NATURE OF THE CASE
 2         1.     Plaintiff brings this action individually and on behalf of all others
 3   similarly situated seeking damages and any other available legal or equitable
 4   remedies resulting from the illegal actions of SMILE BRANDS, INC. (“SMILE
 5   BRANDS’) and SMILE BRANDS FINANCE, INC. dba BRIGHT NOW!
 6   DENTAL, INC. (“SB FINANCE”) in negligently, knowingly, and/or willfully
 7   contacting Plaintiff on Plaintiff’s cellular telephone in violation of the Telephone
 8   Consumer Protection Act, 47. U.S.C. § 227 et seq. (“TCPA”), thereby invading
 9   Plaintiff’s privacy.
10                             JURISDICTION & VENUE
11         2.     Jurisdiction is proper under 28 U.S.C. § 1332(d)(2) because Plaintiff,
12   a resident of California, seeks relief on behalf of a Class, which will result in at
13   least one class member belonging to a different state than that of Defendants,
14   residents of Washington and Delaware. Plaintiff also seeks up to $1,500.00 in
15   damages for each call in violation of the TCPA, which, when aggregated among a
16   proposed class in the thousands, exceeds the $5,000,000.00 threshold for federal
17   court jurisdiction. Therefore, both diversity jurisdiction and the damages threshold
18   under the Class Action Fairness Act of 2005 (“CAFA”) are present, and this Court
19   has jurisdiction.
20         3.       Venue is proper in the United States District Court for the Central
21   District of California pursuant to 18 U.S.C. 1391(b) and 18 U.S.C. § 1441(a)
22   because Defendants does business within the state of California and the Central
23   District of California.
24                                       PARTIES
25         4.     Plaintiff, DAN DEFOREST (“Plaintiff”), is a natural person residing
26   in Costa Mesa, California and is a “person” as defined by 47 U.S.C. § 153 (39).
27         5.     Defendant, SMILE BRANDS, INC. (“SMILE BRANDS”), is a
28   company involved in providing dental insurance and recovery/collection and is a


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 1   “person” as defined by 47 U.S.C. § 153 (39).
 2           6.    Defendant, SMILE BRANDS FINANCE, INC. dba BRIGHT NOW!
 3   DENTAL, INC. (“SB FINANCE”), is a company involved in providing dental
 4   insurance and recovery/collection and is a “person” as defined by 47 U.S.C. § 153
 5   (39).
 6           7.    The above named Defendants, and their subsidiaries and agents, are
 7   collectively referred to as “Defendants.” The true names and capacities of the
 8   Defendants sued herein as DOE DEFENDANTSS 1 through 10, inclusive, are
 9   currently unknown to Plaintiff, who therefore sues such Defendants by fictitious
10   names. Each of the Defendants designated herein as a DOE is legally responsible
11   for the unlawful acts alleged herein. Plaintiff will seek leave of Court to amend the
12   Complaint to reflect the true names and capacities of the DOE Defendants when
13   such identities become known.
14           8.    Plaintiff is informed and believes that at all relevant times, each and
15   every Defendants was acting as an agent and/or employee of each of the other
16   Defendants and was acting within the course and scope of said agency and/or
17   employment with the full knowledge and consent of each of the other Defendants.
18   Plaintiff is informed and believes that each of the acts and/or omissions complained
19   of herein was made known to, and ratified by, each of the other Defendants.
20                               FACTUAL ALLEGATIONS
21           9.    Beginning in and around September of 2017, Defendants contacted
22   Plaintiff on her cellular telephone, ending in -7192, in an attempt to collect an
23   alleged outstanding debt.
24           10.   Defendants used an “automatic telephone dialing system”, as defined
25   by 47 U.S.C. § 227(a)(1) to place its daily calls to Plaintiff seeking to collect the
26   debt allegedly owed
27           11.   Defendants’ calls constituted calls that were not for emergency
28   purposes as defined by 47 U.S.C. § 227(b)(1)(A).


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 1         12.    Defendants’ calls were placed to telephone number assigned to a
 2   cellular telephone service for which Plaintiff incurs a charge for incoming calls
 3   pursuant to 47 U.S.C. § 227(b)(1).
 4         13.    On at least one occasion, Plaintiff answered Defendants’ call and told
 5   Defendants to stop contacting her. In addition, Plaintiff has never provided
 6   Defendants with her telephone information and has never agreed to be contacted
 7   using an automated telephone dialing system. Accordingly, Defendantss never
 8   received Plaintiff’s “prior express consent” to receive calls using an automatic
 9   telephone dialing system or an artificial or prerecorded voice on her cellular
10   telephone pursuant to 47 U.S.C. § 227(b)(1)(A).
11         14.    Despite this, Defendants represented that they would continue to call
12   Plaintiff and harass him, until he paid them the balance owed on an alleged debt.
13                               CLASS ALLEGATIONS
14         15.    Plaintiff brings this action individually and on behalf of all others
15   similarly situated, as a member of the proposed class (hereafter “The Class”)
16   defined as follows:
17
                  All persons within the United States who received any
18                collection telephone calls from Defendants to said
19                person’s cellular telephone made through the use of any
                  automatic telephone dialing system or an artificial or
20
                  prerecorded voice and such person had not previously
21                consented to receiving such calls within the four years
22
                  prior to the filing of this Complaint

23
           16.    Plaintiff represents, and is a member of, The Class, consisting of All
24
     persons within the United States who received any collection telephone calls from
25
     Defendants to said person’s cellular telephone made through the use of any
26
     automatic telephone dialing system or an artificial or prerecorded voice and such
27
     person had not previously not provided their cellular telephone number to
28
     Defendants within the four years prior to the filing of this Complaint.


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 1         17.    Defendants, its employees and agents are excluded from The Class.
 2   Plaintiff does not know the number of members in The Class, but believes the Class
 3   members number in the thousands, if not more. Thus, this matter should be
 4   certified as a Class Action to assist in the expeditious litigation of the matter.
 5         18.    The Class is so numerous that the individual joinder of all of its
 6   members is impractical. While the exact number and identities of The Class
 7   members are unknown to Plaintiff at this time and can only be ascertained through
 8   appropriate discovery, Plaintiff is informed and believes and thereon alleges that
 9   The Class includes thousands of members.           Plaintiff alleges that The Class
10   members may be ascertained by the records maintained by Defendants.
11         19.    Plaintiff and members of The Class were harmed by the acts of
12   Defendants in at least the following ways: Defendants illegally contacted Plaintiff
13   and Class members via their cellular telephones thereby causing Plaintiff and Class
14   members to incur certain charges or reduced telephone time for which Plaintiff and
15   Class members had previously paid by having to retrieve or administer messages
16   left by Defendants during those illegal calls, and invading the privacy of said
17   Plaintiff and Class members.
18         20.    Common questions of fact and law exist as to all members of The
19   Class which predominate over any questions affecting only individual members of
20   The Class. These common legal and factual questions, which do not vary between
21   Class members, and which may be determined without reference to the individual
22   circumstances of any Class members, include, but are not limited to, the following:
23                a.     Whether, within the four years prior to the filing of this
24                       Complaint, Defendants made any collection call (other than a
25                       call made for emergency purposes or made with the prior
26                       express consent of the called party) to a Class member using
27                       any automatic telephone dialing system or any artificial or
28                       prerecorded voice to any telephone number assigned to a


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 1                       cellular telephone service;
 2                b.     Whether Plaintiff and the Class members were damages
 3                       thereby, and the extent of damages for such violation; and
 4                c.     Whether Defendants should be enjoined from engaging in such
 5                       conduct in the future.
 6         21.    As a person that received numerous collection calls from Defendants
 7   using an automatic telephone dialing system or an artificial or prerecorded voice,
 8   without Plaintiff’s prior express consent, Plaintiff is asserting claims that are
 9   typical of The Class.
10         22.    Plaintiff will fairly and adequately protect the interests of the members
11   of The Class. Plaintiff has retained attorneys experienced in the prosecution of
12   class actions.
13         23.    A class action is superior to other available methods of fair and
14   efficient adjudication of this controversy, since individual litigation of the claims
15   of all Class members is impracticable. Even if every Class member could afford
16   individual litigation, the court system could not. It would be unduly burdensome
17   to the courts in which individual litigation of numerous issues would proceed.
18   Individualized litigation would also present the potential for varying, inconsistent,
19   or contradictory judgments and would magnify the delay and expense to all parties
20   and to the court system resulting from multiple trials of the same complex factual
21   issues. By contrast, the conduct of this action as a class action presents fewer
22   management difficulties, conserves the resources of the parties and of the court
23   system, and protects the rights of each Class member.
24         24.    The prosecution of separate actions by individual Class members
25   would create a risk of adjudications with respect to them that would, as a practical
26   matter, be dispositive of the interests of the other Class members not parties to such
27   adjudications or that would substantially impair or impede the ability of such non-
28   party Class members to protect their interests.


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 1          25.   Defendants has acted or refused to act in respects generally applicable
 2   to The Class, thereby making appropriate final and injunctive relief with regard to
 3   the members of the California Class as a whole.
 4                             FIRST CAUSE OF ACTION
 5          Negligent Violations of the Telephone Consumer Protection Act
 6                                 47 U.S.C. §227 et seq.
 7          26.   Plaintiff repeats and incorporates by reference into this cause of
 8   action the allegations set forth above at Paragraphs 1-21.
 9          27.   The foregoing acts and omissions of Defendants constitute numerous
10   and multiple negligent violations of the TCPA, including but not limited to each
11   and every one of the above cited provisions of 47 U.S.C. § 227 et seq.
12          28.   As a result of Defendants’ negligent violations of 47 U.S.C. § 227 et
13   seq., Plaintiff and the Class Members are entitled an award of $500.00 in statutory
14   damages, for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B).
15          29.   Plaintiff and the Class members are also entitled to and seek
16   injunctive relief prohibiting such conduct in the future.
17                           SECOND CAUSE OF ACTION
18   Knowing and/or Willful Violations of the Telephone Consumer Protection Act
19                                 47 U.S.C. §227 et seq.
20          30.   Plaintiff repeats and incorporates by reference into this cause of
21   action the allegations set forth above at Paragraphs 1-25.
22          31.   The foregoing acts and omissions of Defendants constitute numerous
23   and multiple knowing and/or willful violations of the TCPA, including but not
24   limited to each and every one of the above cited provisions of 47 U.S.C. § 227 et
25   seq.
26          32.   As a result of Defendants’ knowing and/or willful violations of 47
27   U.S.C. § 227 et seq., Plaintiff and the Class members are entitled an award of
28   $1,500.00 in statutory damages, for each and every violation, pursuant to 47 U.S.C.


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 1   § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).
 2         33.    Plaintiff and the Class members are also entitled to and seek
 3   injunctive relief prohibiting such conduct in the future.
 4
 5                                PRAYER FOR RELIEF
 6   WHEREFORE, Plaintiff requests judgment against Defendants for the following:
 7                             FIRST CAUSE OF ACTION
 8          Negligent Violations of the Telephone Consumer Protection Act
 9                                 47 U.S.C. §227 et seq.
10                As a result of Defendants’ negligent violations of 47 U.S.C.
11                §227(b)(1), Plaintiff and the Class members are entitled to and
12                request $500 in statutory damages, for each and every violation,
13                pursuant to 47 U.S.C. 227(b)(3)(B).
14                Any and all other relief that the Court deems just and proper.
15                           SECOND CAUSE OF ACTION
16   Knowing and/or Willful Violations of the Telephone Consumer Protection Act
17                                 47 U.S.C. §227 et seq.
18                As a result of Defendants’ willful and/or knowing violations of 47
19                U.S.C. §227(b)(1), Plaintiff and the Class members are entitled to
20                and request treble damages, as provided by statute, up to $1,500, for
21                each and every violation, pursuant to 47 U.S.C. §227(b)(3)(B) and 47
22                U.S.C. §227(b)(3)(C).
23                Any and all other relief that the Court deems just and proper.
24
25   ///
26   ///
27   ///
28   ///


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 1        Respectfully Submitted this 23rd Day of March, 2018.
 2                          LAW OFFICES OF TODD M. FRIEDMAN, P.C.
 3
 4                                 By: /s/ Todd M. Friedman
                                       Todd M. Friedman
 5                                     Law Offices of Todd M. Friedman
 6                                     Attorney for Plaintiff
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